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EXHIBIT M

ease 1:09-cv-00597-Li\/iB-TCB Documem 41-14 Filed 10/23/09 Page 2 or 7 Pa§%&t)#%?)

Roth, Melissa R.

From: isabel Nl Humphrey [isabel@hhylaw.com}
Sent: Nlonday. October 05, 2009 7109 F’Nl

To: Dickinson, i\lliche|le J.

Cc: Roth, Meiissa R.; Cramerl Vanessa; d|udwig@dg|ega|.com
Subject: RE: Loomis laptops

iV|icheile, you keep saying that your tech will be removing "the data" from the iaptop. Again, l need you to confirm
that you have not instructed him to remove Al.L "data," just NE| data. There is "data" even on a factory-fresh
iaptop. We do not want any of that data removed.

l'm amazed to hear that you had Joe's laptop sent out of state. The appropriate response to learning that one is
in possession of another‘s property is to immediately offer to return it, not to fly it across the country. Obviouslyl
the reason Joe is threatening police involvement and a conversion claim is not because you are not taking special
precautions with the laptop but because you will not give it back. You are mistaken in thinking that we "would do
the same in this situation." We are in the same situation-we have NE|'s iaptop too. Joe turned it over to me as
soon as he detected the error (which he discovered because of your comment that there was "sorne question"
whether he had taken an NE| computer). l immediately notified you of the mix-up and offered to return NEi's
iaptop. (By the way, you told me that NEl was unaware of the iaptop mix-up until Joe pointed it out, so we are still
waiting to find out which NE| computer you believe he took.) .

The differencel |\ilichellel is that |'m not doing anything with NE|'s laptop except trying to get someone from NE| to
come and pick it up, whereas NE| is continuing to treat Joe's laptop as its own.

Piease let me know why you think NE| should be allowed to image Joe's personal computer(s). l will look into the
other discovery issues you‘ve raised and respond in writing, at which point we can determine whether we need to
further confer about any of those issues

isabel Nl. Humphreyl Esq.

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----- Original l\fiessage ~----
From: "Dickinson, Nlichel|e J."
To: "|sabe| iVl l-iumphrey"
Sent: 10/05!2009 3118PiV|
Subject: RE: Loomis laptops

lsabel,

The laptop Joe returned to NEl last year is on its way to Washington, D.C. so that our computer consultant can
remove the data, not the software Once it has been removed, we will arrange for a time for him to deliver it to
your office in Arizona and pick up the NE| iaptop. We will schedule the exchange for a day when Joe can provide
the computer tower for imaging as well. We understand that you do not care whether we take special precautions
with Joe’s computer, but we must protect our clients from allegations Joe likely will make if we don't do so. |f you
recall, a just few hours agol he had you ready to file a counterclaim and call the police over a laptop he gave NE|
over a year ago and that we already agreed to return. We're covering ourselves We expect you would do the

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same in this situation

With respect to the other computers in Joe‘s possession, custody or controll please advise as to your availability
for a telephone call tomorrow at 4500 p.m, EST to formally meet and confer on thisl and all other

outstanding discovery issues, in accordance with the Rules. Thanks.

l\/lichelle

From: Isabei M Humphrey [mailto:isabei@hhy|aw.com]
Sent: Monday, October 05, 2009 4:59 PM

To: Dickinsonr Micheiie J.

Cc: Roth, Meiissa R.; Cramerr Vanessa; dludwig@dglegal.com
Subject: RE: Loomis iaptops

|'m not Hxated, Nlichelle. l sent you a simple email weeks ago explaining the mistake and requesting a
prompt exchange Since thenl you`ve sent me several dissertations on the subjectl to which l feel
compelled to respond if your response had been, "OK, thanks for the informationl We'l| send someone
upstairs to switch the laptops," we would have been done with this long ago.

You have explained why it wiii take you a week to pick up NEi's laptop--you want a computer tech to
personally carry it from here to the East Coast so he can testify that nothing happened to it en route.
That's fine, but it doesn't explain why you can't return Joe‘s laptop in the meantime lt won't take a week to
remove NEi's data. Believe rnel |'m not holding NEi's |aptop hostage. There is no need for a

literal “e><change" if you want to take special precautions with NEi's iaptop.

in the meantime please arrange for Joe‘s |aptop to be delivered to my ofhce by 5:00 pm tomorrow, or tell
us where it is so we can send someone to retrieve it. Alsol once again. please confirm that when you say
you will remove the "data" from Joe‘s laptop you are talking about NE| data and not datal installed software
or reload software that is part of the factory set-up (i.e., data he paid for).

if your tech can give us sufhcient notice for Joe to arrange to get the custom tower (the one listed on
Schedule 5.1) out of storage and over to my office prior to his visit to pick up NEi's |aptop, the tech is
welcome to image the hard drives on that machine As | believe you are already aware, however, the
computer would not boot up the first time Joe attempted to use it after retrieving it from NEl. lvlatt Leberer
then attempted to boot up the machine for several hours. but could not The original drives were sent to
the manufacturer, and the manufacturer sent back replacement drives

We will not produce Joe‘s personal computer(s) for imaging.

l will respond in writing to your other communicationsl if you feel we need a telephonic conference after
thatl we can schedule one.

isabel lVl. Humphrey, Esq.

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---- Orlginai lVlessage ----
From: "Dickinson, iVlichel|e J."
To: "lsabel N| Humphrey"
Sent: 1010512009 12:42Pl\)l

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Subject: RE: Loomis laptops

isabe|,

We are curious as to why, when you have yet to respond to our numerous letters regarding your clients'
discovery response deficiencies or our requests for deposition dates, and you have yet to produce a single
document in this case you are fixated on a laptop computer that your client returned to Net Enforcers while
keeping Net Enforcers' newer model laptop over a year ago. We request that you focus on the more
pressing issues related to litigating this case - as discovery closes on Decernber iith and we will find
ourselves in trial not long thereafter.

We are prepared to retrieve Net Enforcers' laptop and return Loomis‘ laptop with the software intact and
only the data removed We will do so, howeverl only under circumstances that will protect our clients from
potential claims from Loomis that our clients destroyed data or damaged either computerl Further, we will
do so under circumstances such that a qualified computer technician may testify that the computer Loomis
provides was not damaged after the exchange and before any forensic analysis can be performed
Accordingly, we will send a computer technician to your ofhces to make the exchange and transport the
computer back to the East Coast for examination. We should be able to do so in the next week or so after
the data has been removed We trust this will assuage your desire to bring civil or criminal charges against
our clients related to the laptop computer and will enable you to refocus your energies on the actual issues
in this case

We again request that you provide Loomisl computers for imaging by the computer technician we send to
exchange the iaptops This will save the parties time and resources Rather than threatening a
counterclaim or criminal action, perhaps you couid respond to our request for the computer images directly
and indicate whether you intend to produce Loomis‘ computers for imagingl an image of his computers or
nothing at al|. if sol we can arrange for the images to be made by the computer technician at the time of
the laptop exchange if notl we will move forward with seeking the court's assistance with this matter

We look fonNard to your prompt attention and response to this and all other outstanding discovery issues
As you did not respond to our email sent at 1:22 p.m. EST today requesting a call at 3:00 p.m. EST today
or 4100 p.m. EST tomorrow to discuss the discovery issues please advise as to your availability for a call
tomorrow at 4:00 p.m. EST. Thank you in advance for your cooperation with these issues

lVlichelle

From: lsabel M Humphrey [maiito:isabel@hhy|aw.com]
Sent: Monday, October 05, 2009 2:45 PM

To: Dickinson, Michelie J.

Cc: Roth, Meiissa R.; Cramer, Vanessa

Subject: RE: Loomis iaptops

So send someone upstairs l will not move the laptop in my possession until they get here l will let
them pick it up so l don't drop itl and l will keep it away from any large magnets l can't imagine
what you think might happen that would require the presence of a computer tech.iconsu|tantl but if
you really need one there are probably a couple of dozen available within a S-minute drive from this
building who would be happy to charge you $100 per hour to drive over here and switch the

laptops. No need for anyone to fly in from out of state

|f| do not have Joe‘s laptop by the end of the business day tomorrowl we will move to add a
conversion count to the counterclaim and Joe will call the police l am not conditioning the release
of NEi's laptop on the resolution of any of our discovery issuesl and there is no excuse for you
conditioning the release of Joe‘s laptop on any of those issues

Regarding the |aptop in NEi's possession, please confirm that when you say you will remove the
"data" on that laptop prior to the exchange you are referring only to NE| datal and you will leave in
place all installed software

isabel lvl. l-lumphreyl Esq.

10/23/2009

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---- Origina| Message ----
From: "Dickinson, lVlichel|e J."
To: "|sabel Nl Humphrey“
Sent: 10/05f2009 ii:iSAlvl
Subject: RE: Loomis laptops

Thanks for your email response lsabe|. in light of the data destruction issues in this case our ciient
is taking extra measures to ensure that the exchange of computers does not unnecessarily lead to a
data destruction problem

il/|ichei|e

From: Isabel M Humphrey [mailto:isabel@hhylaw.com]
Sent: Monday, October 05, 2009 2:08 PM

To: Dickinson, Miche||e J.

Cc: Roth, Melissa R.; Cramer, Vanessa

Subject: Re: Loomis iaptops

Nliche||e, l can't understand why you need an out-of-state "consultant" to “facilitate" the
exchange of the laptops. Can‘t you just send someone up from downstairs?'? Or l can send
someone downstairs Either way. This should take 2 minutes

isabel lVl. Humphreyl Esq.

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---- Origina| Message ~---
From: "Dickinson. lVlichelle J."
To:

Sent: 10102/2009 5:47PN|
Subject: Re: Loomis laptops

lsabel,

Thank you for your email. As explained in our leiter, we will be paying a consultant to facilitate the
exchange of the laptop computers as a result of.loe's return of the wrong computer after his
termination ln order to avoid unnecessary additional expenscs, it makes sense to have the consultant

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make only one trip to Arizona and image the tower and the other computers in Joe‘s possession,
custody or control during that visit Please confirm your agreement with this arrangement Thanks.
Micheile

Michelle J. Dickinson

DLA Pipcr LLP (US)

6225 Smith Avenue

Baltimore, Mary|and 21209-3600
(410) 580-4137 Direct Phone
(410) 580-3 l 37 Direct Fax
micheile.dickinson@dlapiper.com

AT'I`ORNEY WORK PRODUCT

----- Original Message -----

From: isabel M Humphrey <isabel@hhyiaw.com>
To: Dickinson, Michelle .l.

Sent: Fri Oct 02 20:03:08 2009

Subject: RE: Loomis laptops

Michelie, l‘ve reviewed your latest communication regarding the laptops. l'm glad we have finally
resolved the ownership issue. Please have your computer tech call me to arrange a time to exchange
the laptops. l will be in the office most of` the day Monday and Tuesday.

l will respond to the other issues raised in your ietter, but obviously NEI is required to return Joe‘s
property immediately and unconditionally

[sabel M. Humphrey, Esq.

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10/23/2009

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Information from ESET NOD32 Antivirus, version of virus signature database
4482 (20091005)

The message was checked by ESET NOD32 Antivirus.
h_tt_p;ll_www,,esetcoin

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Information from ESET NODBZ Antivirus, version of virus signature database 4482
(20091005)

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